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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

In re CASSAVA SCIENCES, INC.             §
SECURITIES LITIGATION                    § Master File No. 1:21-cv-00751-DAE
                                         §
                                         § CLASS ACTION
This Document Relates To:                §
                                         §
         ALL ACTIONS                     §
                                         §
                                         §


  [PROPOSED] ORDER GRANTING PLAINTIFFS’ OPPOSED MOTION TO STRIKE
        THE EXPERT SUR-REPLY REPORT OF RENÉ M. STULZ, PH.D.




4857-7153-6880.v1
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         Before the Court is plaintiffs Mohammad Bozorgi, Ken Calderone, and Manohar Rao’s

Opposed Motion to Strike the Expert Sur-Reply Report of René M. Stulz, Ph.D. Having reviewed

the motion, and good cause appearing, the Court concludes that the motion should be, and is hereby

GRANTED. The Expert Sur-Reply Report of René M. Stulz, Ph.D., at docket entries ECF 227-1

and ECF 228-1, is struck from the record.

                                        *       *      *

                                            ORDER

         IT IS SO ORDERED.

DATED: _________________________             ____________________________________
                                             THE HONORABLE DAVID ALAN EZRA
                                             SENIOR UNITED STATES DISTRICT JUDGE




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4857-7153-6880.v1
